     Case 1:19-cv-05808-WMR-LTW Document 12 Filed 03/16/20 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MACHEL HUNT,                          )
                                      )
      Plaintiff                       )
v.                                    )      Civ. No. 1:19-cv-05808-WMR-LTW
                                      )
EMORY UNIVERSITY,                     )
                                      )
      Defendant                       )
                                      )

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 16th day of March 2020, I served a true

and correct copy of DEFENDANT’S INITIAL DISCLOSURES by email,

addressed to the following attorney of record:

                         Anthony Bullock, Esq.
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                                      s/Burton F. Dodd
                                      Burton F. Dodd
                                      Georgia Bar No. 223880
